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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                    AT TRENTON




                                                     )
 BRYAN MESSENGER,                                     )
                                                      )
        Plaintiff,                                    )          Case No.: 3:17-cv-03755
                                                      )
 v.                                                   )
                                                      )
 NATIONAL BOARD OF MEDICAL                            )
 EXAMINERS                                            )
      Defendant.                                      )
                                                      )
                                                      )

_________________________________________________________________________________
                        MOTION FOR ORDER ALLOWING
                    MARTHA M. LAFFERTY, ESQ. TO APPEAR
                                 PRO HAC VICE
   _________________________________________________________________________

       Comes now, Clara R. Smit, Esq. and moves this Honorable Court to enter an Order

allowing Martha M. Lafferty to appear and participate pro hac vice in this matter. Ms. Lafferty

is a member in good standing of the Bar of Tennessee and the Bars of multiple federal courts.

Ms. Lafferty’s Certified Statement is attached to this Motion.

Dated: May 30, 2017                                  Respectfully submitted,


                                                     s/Clara R. Smit
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